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                                     UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY


  UNITED STATES OF AMERICA                              :       Hon. Stanley R. Chesler

                 v.                                     :       11 Cr. 277

  MICHAEL F, DURANTE, et al.                            :       ORDER


         This matter having been opened to the Court on the application of the United States of

  America, in the presence of the defendants (through their respective counsel), for an order granting

  a continuance of the proceedings in the above-captioned matter; and the Court having found that an

  order granting a continuance of the proceedings in the above-captioned matter should be entered,

  and for good and sufficient cause shown;

         IT IS THE FINDING OF THIS COURT that the action should be continued for the

  following reasons:

         1.     This case has been deemed a “complex case” pursuant to Title 18, United States

 Code, Section 3 161(h)(7)(B)(ii);

         2.     The discovery in the case is voluminous, in that it includes, among other things,

 extensive wiretap and recorded conversations, and numerous documentary records, including

 hundreds of patient files and prescriptions.

         3.     The defendants and their counsel need additional time to review the extensive

 discovery in this matter.

        4.      In light of the allegations, the defendants need sufficient additional time to

 investigate the charges.

        5.      In light of the discovery and depending on the results of their respective

 investigations, each defendant will need additional time to determine whether to file motions in
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  this matter and which motions should he filed.

          6.      In light of these findings, and given the nature of the case and its complexity, it is

  unreasonable to expect adequate preparation for pretrial proceedings or the trial itself within the

  time limits established under the Speedy Trial Act.

          7.      All defendants save defendant Michael Durante consent to the aforementioned

  continuance.

          8.      The grant of a further continuance will enable counsel for the defendants to

  adequately review the discovery, prepare motions and proceed with trial.

          9.      Pursuant to Title 18, United States Code, Section 3 161, the ends ofjustice served

  by granting the continuance outweigh the best interests of the public and the defendants in a

  speedy trial.

          WHEREFORE, it is on this      ,   ‘day of September. 2011

          ORDERED that the proceedings in this matter are continued from November 15, 2011

  until January 31, 2012;

          IT IS FURTHER ORDERED that the period between November 15, 2011 and January

 31, 2012, shall be excludable in computing time under the Speedy Trial Act of 1974:

          IT IS FURTHER ORDERED that the following motion schedule shall apply: Any

 motions shall be filed by November 23, 2011; Opposition briefs by December 5, 2011; Reply

 briefs by December 12.2011: Hearing on December l. 2011. at 10:00 a.m.;
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        IT IS FURTFIER ORDERED that trial in this matter shall commence January 31. 2012.




                                                 l4($NLEY R. CHESLER
                                                 United States District Judge
